     Case 3:18-cv-01690-K-BK Document 29 Filed 06/18/19                 Page 1 of 3 PageID 164



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

EJIKE OKPA,                                       §
                                                  §
Plaintiff,                                        §
                                                  §
v.                                                §    CIVIL ACTION NO. 3:18-cv-1690-K-BK
                                                  §
BANK OF NEW YORK MELLON, AS                       §
TRUSTEE, AND SELECT PORTFOLIO                     §
SERVICING, INC.,                                  §
                                                  §
Defendants.
                                                  §

JEAN ONUAGULUCHI,                 §
                                  §
Plaintiff,                        §
                                  §
v.                                §
                                  §
SELECT PORTFOLIO SERVICING, INC., §
                                  §
Defendant.
                                  §

______________________________________________________________________________

       UNOPPOSED STIPULATION OF DISMISSAL WITHOUT PREJUDICE
______________________________________________________________________________

TO THE HONORABLE DISTRICT COURT JUDGE:

         Pursuant to the Federal Rules of Civil Procedure, Plaintiff Ejike Okpa hereby stipulates

and agrees to the following:

         1.     Plaintiff filed his Original Petition, Application for Injunctive Relief, and

Request for Disclosures in the 68th Judicial Court of Dallas County, Texas on June 4, 2018.

         2.     Defendants filed their Notice of Removal on June 28, 2018.

         3.     Plaintiff no longer desires to pursue his causes of action against Defendants at this

time.
  Case 3:18-cv-01690-K-BK Document 29 Filed 06/18/19                      Page 2 of 3 PageID 165



       4.      All claims in this case against Defendants which were or could have been asserted

by Plaintiff are dismissed without prejudice.

       5.      Plaintiff as well as Defendants shall bear their own attorney’s fees, expert fees,

and litigation expenses incurred in litigating these claims.

       6.      Plaintiff shall bear the costs of court.

       7.      Jean Onuaguluchi’s claims against Select Portfolio Servicing Inc. were dismissed

with prejudice on April 2, 2019..

       7.      Accordingly, Plaintiff requests that the Court dismiss this lawsuit without

prejudice against filing same in the future.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff hereto requests that the Court enter

the attached Order dismissing the above-entitled and numbered cause without prejudice with costs

of court being assessed against the party incurring same.

                                                          Respectfully submitted,

                                                          VILT AND ASSOCIATES, P.C.

                                                          /s/ Jason A. LeBoeuf_____________
                                                          Robert C. Vilt
                                                          Texas Bar Number 00788586
                                                          Email: clay@viltlaw.com
                                                          5177 Richmond Avenue, Suite 1142
                                                          Houston, Texas 77056
                                                          Telephone: 713.840.7570
                                                          Facsimile:     713.877.1827

                                                          Jason A. LeBoeuf
                                                          Texas Bar Number 24032662
                                                          Email: jason@viltlaw.com
                                                          Richardson Telecom
                                                          2435 North Central Expressway, Suite 1200
                                                          Richardson, Texas 75080
                                                          Telephone: 214.712.7495
                                                          Facsimile:    713.877.1827
                                                          ATTORNEYS FOR PLAINTIFF
  Case 3:18-cv-01690-K-BK Document 29 Filed 06/18/19                  Page 3 of 3 PageID 166



                              CERTIFICATE OF CONFERENCE

      I hereby certify that a conference was held on the merits of this motion on June 18,
2019 with Gregg D. Stevens and he is unopposed to the relief sought herein.

                                              /s/ Jason A. LeBoeuf
                                              Jason A. LeBoeuf


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was forwarded to all counsel
of record pursuant Federal Rules of Civil Procedure on this the 18th day of June, 2019.

       Gregg D. Stevens
       McGlinchey Stafford PLLC
       Three Energy Square
       6688 N. Central Expressway, Suite 400
       Dallas, TX 75206


                                              /s/ Jason A. LeBoeuf
                                              Jason A. Leboeuf
